              Case 2:08-cr-00389-TLN Document 137 Filed 12/23/10 Page 1 of 1


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 4
 5                         IN THE UNITED STATES DISTRICT COURT
 6                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
 8   UNITED STATES OF AMERICA,                  )
                                                )    2:08-cr-00389-GEB-3
 9                      Plaintiff,              )
                                                )
10                v.                            )    ORDER
                                                )
11   BOUNTHAVEE NERASIN,                        )
                                                )
12                 Defendant.                   )
     ________________________________           )
13
14                The United States is requested to file a written response to

15   Defendant Bounthavee Nerasin’s Motion for Reduction of Sentence, filed

16   on December 21, 2010, as soon as practicable.

17   Dated:     December 23, 2010
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19                                       GARLAND E. BURRELL, JR.
                                         United States District Judge
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